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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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JUAN F. GONZALEZ EVANGELISTA,

                                   Plaintiff,                         20 CIVIL 8758 (AKH)

                 -against-                                               JUDGMENT
THOMAS DECKER, Director, New York Field
Office of U.S. Immigrations and Customs Enforcement,
et al.

                                    Defendants.
---------------------------------------------------------------X


        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated January 12, 2021, Petitioner’s habeas petition is granted;

Petitioner must be freed unless, within seven days of this order, Petitioner is found by clear and

convincing evidence, proved by the Government to an Immigration Judge, that Petitioner poses a risk

of flight or danger to the community. The previously issued injunction, ECF No. 17, shall remain in

effect for seven days, or until the determination of an Immigration Judge at such a hearing,

whichever is earlier.

DATED: New York, New York
       January 12, 2021

                                                                      RUBY J. KRAJICK
                                                                   _________________________
                                                                        Clerk of Court
                                                             BY:
                                                                   _________________________
                                                                        Deputy Clerk
